                                                                                                                                                      6/11/19 4:48PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Andrew                                                           Tammy
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        James                                                            Noel
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Garchar                                                          Feo-Garchar
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                       Tammy N. Feo
                              Andy Garchar
                                                                                                    Tammy N. Garchar
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2011                                                      xxx-xx-7078
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Andrew James Garchar
Debtor 2   Tammy Noel Feo-Garchar                                                                     Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 239 Clingan Road                                              46829 Church Street
                                 Struthers, OH 44471                                           New Waterford, OH 44445
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Mahoning                                                      Columbiana
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Andrew James Garchar
Debtor 2    Tammy Noel Feo-Garchar                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Andrew James Garchar
Debtor 2    Tammy Noel Feo-Garchar                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Andrew James Garchar
Debtor 2    Tammy Noel Feo-Garchar                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Andrew James Garchar
Debtor 2    Tammy Noel Feo-Garchar                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Andrew James Garchar                                          /s/ Tammy Noel Feo-Garchar
                                 Andrew James Garchar                                              Tammy Noel Feo-Garchar
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on      6/11/2019                                        Executed on      6/11/2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Andrew James Garchar
Debtor 2   Tammy Noel Feo-Garchar                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ John H. Chaney, III                                            Date          6/11/2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                John H. Chaney, III
                                Printed name

                                Daniel Daniluk, LLC
                                Firm name

                                1129 Niles-Cortland Road, SE
                                Warren, OH 44484-2542
                                Number, Street, City, State & ZIP Code

                                Contact phone     330-609-9999                               Email address         jchaney@daniluklaw.com
                                0056193 OH
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                   Andrew James Garchar
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Tammy Noel Feo-Garchar
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                                         Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $             215,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             257,780.48

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $             472,780.48

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $             267,311.58

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $              10,564.30

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $             311,415.44


                                                                                                                                     Your total liabilities $                 589,291.32


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                7,751.23

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $                7,489.35

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                     Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       7,625.31


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            10,564.30

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            81,225.34

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             91,789.64




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Andrew James Garchar
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Tammy Noel Feo-Garchar
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF OHIO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        239 Clingan Road                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Struthers                         OH        44471-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $215,000.00                $215,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Mahoning                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Andrew James Garchar
 Debtor 2         Tammy Noel Feo-Garchar                                                                                        Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        Disney Vacation Club                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
        DVCMC Association Manager                                                     Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
        PO Box 470727                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
        Street address, if available, or other description

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the       Current value of the
        Kissimmee                         FL        34747-0000                        Land                                            entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                        Unknown                    Unknown
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Orange                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Debtors have 3 separate deeds from Orange County, FL containing
                                                                             undivided 0.3284% interest in Unit 99A at the Disney Saratoga Springs
                                                                             Resort purchased January 2007. Parties have 15 shares for each account
                                                                             for a total of 45 shares.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                          $215,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Dodge                                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Durango                                            Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2015                                               Debtor 2 only                                               Current value of the      Current value of the
          Approximate mileage:                       72,000                Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $20,650.00                 $20,650.00
                                                                           (see instructions)



  3.2     Make:         Nissan                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Altima                                             Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2017                                               Debtor 2 only
                                                                                                                                       Current value of the      Current value of the
          Approximate mileage:                     103,079                 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $14,550.00                 $14,550.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                            page 2
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 Debtor 1       Andrew James Garchar
 Debtor 2       Tammy Noel Feo-Garchar                                                                              Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>             $35,200.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc. household goods and furnishings including, but not limited
                                    to, consisting of couch, chairs, endtables, beds, dressers, night
                                    stands, kitchen table & chairs, microwave, fridge, stove, washer,
                                    dryer, misc. lawn tools, and lawn mower.                                                                                    $2,000.00


                                    Misc. household goods and furnishings including, but not limited
                                    to, consisting of couch, chairs, endtables, beds, dressers, night
                                    stands, kitchen table & chairs, microwave, and misc. lawn tools.                                                            $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    5 cell phones, 3 computers, 7 TVs, 2 gaming devices, 1 DVD/Blue
                                    Ray                                                                                                                         $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    9mm Smith & Wesson (seized by Mahoning County Sheriff's
                                    Department and in their custody, control and possession until
                                    December 2019. Debtor Husband is unsure if/when it will be
                                    returned)                                                                                                                     $500.00

Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 3
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 Debtor 1          Andrew James Garchar
 Debtor 2          Tammy Noel Feo-Garchar                                                                                     Case number (if known)


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing of Debtors and children                                                                                           $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Wedding set and right hand diamond ring (in Debtor Husband's
                                            possession) and emerald ring                                                                                               $2,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $10,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Citizens Bank                                                              $0.55



                                              17.2.       Checking                                Huntington Bank                                                            $0.00



                                              17.3.       Investing/Savings                       Acorns Account                                                           $89.90




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 1         Andrew James Garchar
 Debtor 2         Tammy Noel Feo-Garchar                                                                      Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                E* Trade account consisting 2,000 shares of Nanologix ($0.0370 per
                                                share) and 25 shares of Rite Aid ($7.30 per share)                                                     $232.50


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

                                            OT Plus, Ltd (business operated by
                                            Debtor-Husband to provide occupational therapy
                                            to patients at facilities and in their home,
                                            bsiness assets consisit of checking accounts at
                                            Citizens Bank (ending 593-1 and 388-1), a
                                            computer, a tablet, a printer/copier/scanner/fax ,
                                            and a desk)                                                              100         %                   Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          401(a)                            STRS (balance as of 12/31/2018)                                      $212,257.53


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                   Schedule A/B: Property                                                              page 5
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 Debtor 1       Andrew James Garchar
 Debtor 2       Tammy Noel Feo-Garchar                                                                 Case number (if known)

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2018 Income Tax Refund (Total refund of
                                                             $2,998.00 to be seized and to be
                                                             applied to priority obligation owed by
                                                             Debtor-Husband to IRS)                          Federal                                    $0.00




                                                         2018 Income Tax Refund                              Federal                              Unknown




                                                         2018 Income Tax Refund                              State                                Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Term life insurance policy through                   Wife and minor
                                         employer                                             children                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 6
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 Debtor 1         Andrew James Garchar
 Debtor 2         Tammy Noel Feo-Garchar                                                                                                Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $212,580.48


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $215,000.00
 56. Part 2: Total vehicles, line 5                                                                          $35,200.00
 57. Part 3: Total personal and household items, line 15                                                     $10,000.00
 58. Part 4: Total financial assets, line 36                                                                $212,580.48
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $257,780.48               Copy personal property total          $257,780.48

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $472,780.48




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
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 Fill in this information to identify your case:

 Debtor 1                 Andrew James Garchar
                          First Name                        Middle Name                  Last Name

 Debtor 2                 Tammy Noel Feo-Garchar
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from     Check only one box for each exemption.
                                                               Schedule A/B

      239 Clingan Road Struthers, OH                                 $215,000.00                               $145,425.00      Ohio Rev. Code Ann. §
      44471 Mahoning County                                                                                                     2329.66(A)(1)
      Line from Schedule A/B: 1.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

      2015 Dodge Durango 72,000 miles                                 $20,650.00                                  $4,000.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 3.1                                                                                               2329.66(A)(2)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      2017 Nissan Altima 103,079 miles                                $14,550.00                                  $4,000.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 3.2                                                                                               2329.66(A)(2)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      Misc. household goods and                                        $2,000.00                                  $2,000.00     Ohio Rev. Code Ann. §
      furnishings including, but not limited                                                                                    2329.66(A)(4)(a)
      to, consisting of couch, chairs,                                                      100% of fair market value, up to
      endtables, beds, dressers, night                                                      any applicable statutory limit
      stands, kitchen table & chairs,
      microwave, fridge, stove, washer,
      dryer, misc. lawn tools, and lawn
      mower.
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 3
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 Debtor 1    Andrew James Garchar
 Debtor 2    Tammy Noel Feo-Garchar                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from     Check only one box for each exemption.
                                                               Schedule A/B

     Misc. household goods and                                        $1,500.00                                   $1,500.00        Ohio Rev. Code Ann. §
     furnishings including, but not limited                                                                                        2329.66(A)(4)(a)
     to, consisting of couch, chairs,                                                       100% of fair market value, up to
     endtables, beds, dressers, night                                                       any applicable statutory limit
     stands, kitchen table & chairs,
     microwave, and misc. lawn tools.
     Line from Schedule A/B: 6.2

     5 cell phones, 3 computers, 7 TVs, 2                             $2,000.00                                   $2,000.00        Ohio Rev. Code Ann. §
     gaming devices, 1 DVD/Blue Ray                                                                                                2329.66(A)(4)(a)
     Line from Schedule A/B: 7.1                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     9mm Smith & Wesson (seized by                                       $500.00                                    $500.00        Ohio Rev. Code Ann. §
     Mahoning County Sheriff's                                                                                                     2329.66(A)(4)(a)
     Department and in their custody,                                                       100% of fair market value, up to
     control and possession until                                                           any applicable statutory limit
     December 2019. Debtor Husband is
     unsure if/when it will be returned)
     Line from Schedule A/B: 10.1

     Clothing of Debtors and children                                 $2,000.00                                   $2,000.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                                  2329.66(A)(4)(a)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     Wedding set and right hand diamond                               $2,000.00                                   $3,400.00        Ohio Rev. Code Ann. §
     ring (in Debtor Husband's                                                                                                     2329.66(A)(4)(b)
     possession) and emerald ring                                                           100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                           any applicable statutory limit

     Checking: Citizens Bank                                                $0.55                                      $0.55       Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.1                                                                                                  2329.66(A)(3)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     Checking: Huntington Bank                                              $0.00                                      $0.00       Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.2                                                                                                  2329.66(A)(3)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     Investing/Savings: Acorns Account                                    $89.90                                     $89.90        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.3                                                                                                  2329.66(A)(3)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

     E* Trade account consisting 2,000                                   $232.50                                    $232.50        Ohio Rev. Code Ann. §
     shares of Nanologix ($0.0370 per                                                                                              2329.66(A)(3)
     share) and 25 shares of Rite Aid                                                       100% of fair market value, up to
     ($7.30 per share)                                                                      any applicable statutory limit
     Line from Schedule A/B: 18.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                          page 2 of 3
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 Debtor 1    Andrew James Garchar
 Debtor 2    Tammy Noel Feo-Garchar                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from     Check only one box for each exemption.
                                                               Schedule A/B

     OT Plus, Ltd (business operated by                                Unknown                                    $2,550.00        Ohio Rev. Code Ann. §
     Debtor-Husband to provide                                                                                                     2329.66(A)(5)
     occupational therapy to patients at                                                    100% of fair market value, up to
     facilities and in their home, bsiness                                                  any applicable statutory limit
     assets consisit of checking accounts
     at Citizens Bank (ending 593-1 and
     388-1), a computer, a tablet, a
     printer/copier/sc
     Line from Schedule A/B: 19.1

     OT Plus, Ltd (business operated by                                Unknown                                      $677.05        Ohio Rev. Code Ann. §
     Debtor-Husband to provide                                                                                                     2329.66(A)(3)
     occupational therapy to patients at                                                    100% of fair market value, up to
     facilities and in their home, bsiness                                                  any applicable statutory limit
     assets consisit of checking accounts
     at Citizens Bank (ending 593-1 and
     388-1), a computer, a tablet, a
     printer/copier/sc
     Line from Schedule A/B: 19.1

     OT Plus, Ltd (business operated by                                Unknown                                    $2,650.00        Ohio Rev. Code Ann. §
     Debtor-Husband to provide                                                                                                     2329.66(A)(18)
     occupational therapy to patients at                                                    100% of fair market value, up to
     facilities and in their home, bsiness                                                  any applicable statutory limit
     assets consisit of checking accounts
     at Citizens Bank (ending 593-1 and
     388-1), a computer, a tablet, a
     printer/copier/sc
     Line from Schedule A/B: 19.1

     401(a): STRS (balance as of                                     $212,257.53                                       100%        Ohio Rev. Code Ann. §§
     12/31/2018)                                                                                                                   3307.71, 3309.66
     Line from Schedule A/B: 21.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     Term life insurance policy through                                     $0.00                                      100%        Ohio Rev. Code Ann. §§
     employer                                                                                                                      2329.66(A)(6)(e), 3923.19
     Beneficiary: Wife and minor children                                                   100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                          page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Andrew James Garchar
                            First Name                       Middle Name                      Last Name

 Debtor 2                   Tammy Noel Feo-Garchar
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America NA                        Describe the property that secures the claim:                  $2,693.74             $215,000.00                     $0.00
         Creditor's Name                           239 Clingan Road Struthers, OH
                                                   44471 Mahoning County
         ATTN: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
         100 North Tryon Street                    apply.
         Charlotte, NC 28255                           Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
     Check if this claim relates to a                  Other (including a right to offset)
     community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2     Bank of America NA                        Describe the property that secures the claim:                $19,855.31              $215,000.00                     $0.00
         Creditor's Name                           239 Clingan Road Struthers, OH
                                                   44471 Mahoning County
         ATTN: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
         100 North Tryon Street                    apply.
         Charlotte, NC 28255                           Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
     Check if this claim relates to a                  Other (including a right to offset)   2018 JD 903
     community debt

 Date debt was incurred                                     Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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 Debtor 1 Andrew James Garchar                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Tammy Noel Feo-Garchar
               First Name                  Middle Name                      Last Name


 2.3     C&F Finance Company                        Describe the property that secures the claim:                    $18,078.37         $14,550.00       $3,528.37
         Creditor's Name                            2017 Nissan Altima 103,079 miles

         ATTN: Bankruptcy Dept
                                                    As of the date you file, the claim is: Check all that
         PO Box 2129                                apply.
         Richmond, VA 23218                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
    Check if this claim relates to a                     Other (including a right to offset)   Purchase Money Security
    community debt

 Date debt was incurred                                      Last 4 digits of account number         5404

 2.4     Chrysler Capital                           Describe the property that secures the claim:                    $19,332.00         $20,650.00             $0.00
         Creditor's Name                            2015 Dodge Durango 72,000 miles

         ATTN: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         PO Box 961275                              apply.
         Fort Worth, TX 76161                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

    Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
    Check if this claim relates to a                     Other (including a right to offset)   Purchase Money Security
    community debt

 Date debt was incurred                                      Last 4 digits of account number         9388

 2.5     Mr. Cooper                                 Describe the property that secures the claim:                   $130,352.16        $215,000.00             $0.00
         Creditor's Name                            239 Clingan Road Struthers, OH
                                                    44471 Mahoning County
         8590 Cypress Waters
                                                    As of the date you file, the claim is: Check all that
         Blvd.                                      apply.
         Coppell, TX 75019                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
    Check if this claim relates to a                     Other (including a right to offset)   First Mortgage
    community debt

 Date debt was incurred                                      Last 4 digits of account number         4147




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 4
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 Debtor 1 Andrew James Garchar                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Tammy Noel Feo-Garchar
               First Name                  Middle Name                      Last Name


 2.6     So-Fi Lending                              Describe the property that secures the claim:                    $77,000.00                $215,000.00          $14,901.21
         Creditor's Name                            239 Clingan Road Struthers, OH
         ATTN: Bankruptcy                           44471 Mahoning County
         375 Healdsburg Avenue,
                                                    As of the date you file, the claim is: Check all that
         #2                                         apply.
         Healdsburg, CA 95448                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
    Check if this claim relates to a                     Other (including a right to offset)   2018 JD 205
    community debt

 Date debt was incurred                                      Last 4 digits of account number         367x


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $267,311.58
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $267,311.58

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
          Chrysler Capital
          ATTN: Bankruptcy                                                                            Last 4 digits of account number
          PO Box 961278
          Fort Worth, TX 76161

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Levy & Associates
          4645 Executive Drive                                                                        Last 4 digits of account number
          Columbus, OH 43220

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.5
          Mr. Cooper
          P.O. Box 60516                                                                              Last 4 digits of account number
          City of Industry, CA 91716-0516

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          So-Fi Lending
          ATTN: Bankruptcy                                                                            Last 4 digits of account number
          PO Box 29372
          San Francisco, CA 94129

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          So-Fi Lending
          ATTN: Bankruptcy                                                                            Last 4 digits of account number
          Dept #3534
          PO Box 123534
          Dallas, TX 75312

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 4
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 Debtor 1 Andrew James Garchar                                                              Case number (if known)
              First Name                Middle Name                  Last Name
 Debtor 2 Tammy Noel Feo-Garchar
              First Name                Middle Name                  Last Name




        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.6
        So-Fi Lending Corp
        ATTN: Bankruptcy                                                              Last 4 digits of account number
        One Letter Drive
        Suite A, Suite #4700
        San Francisco, CA 94129

        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.6
        Zwicker & Associates PC
        2300 Litton Lane #200                                                         Last 4 digits of account number
        Hebron, KY 41048

        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.6
        Zwicker & Associates, PC
        P.O. Box 9013                                                                 Last 4 digits of account number
        Andover, MA 01810

        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.6
        Zwicker & Associates, PC
        80 Minuteman Road                                                             Last 4 digits of account number
        Andover, MA 01810




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                     Andrew James Garchar
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Tammy Noel Feo-Garchar
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          IRS                                                    Last 4 digits of account number                        $10,564.30                    $0.00          $10,564.30
              Priority Creditor's Name
              c/o Bankruptcy Dept                                    When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         2013 and 2014 Personal Income Taxes (Returns
                                                                                         Timely Filed)


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.1      Akron Children's Hospital                                  Last 4 digits of account number       3013                                               $335.32
          Nonpriority Creditor's Name
          6505 Market Street                                         When was the debt incurred?
          Youngstown, OH 44512
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Medical Services


 4.2      American Education Services                                Last 4 digits of account number       6805                                           $30,225.34
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          1200 North 7th Street
          Harrisburg, PA 17102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                          Student Loans
 4.3      American Express                                           Last 4 digits of account number       2008                                               $700.00
          Nonpriority Creditor's Name
          P.O. Box 981540                                            When was the debt incurred?
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.4      American Express                                           Last 4 digits of account number       1003                                             $2,100.00
          Nonpriority Creditor's Name
          P.O. Box 981540                                            When was the debt incurred?
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5      Ashley Homestore/SYNCB                                     Last 4 digits of account number       1460                                             $1,800.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 965064
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.6      Bank of America                                            Last 4 digits of account number       6756                                             $5,300.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept.                                     When was the debt incurred?
          5401 North Beach Street
          FWTX 35
          Fort Worth, TX 76137
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.7      Bank of America                                            Last 4 digits of account number       7941                                               $545.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          P.O. Box 982234
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.8      Bank of America                                            Last 4 digits of account number       8416                                           $12,828.02
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept.                                     When was the debt incurred?
          5401 North Beach Street
          Fort Worth, TX 76137
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.9      Bank of America                                            Last 4 digits of account number       F422                                             $2,693.74
          Nonpriority Creditor's Name
          P.O. Box 31785                                             When was the debt incurred?
          Tampa, FL 33631
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.1
 0        Bank of America                                            Last 4 digits of account number                                                      $13,587.00
          Nonpriority Creditor's Name
          7105 Corporate Drive                                       When was the debt incurred?
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 1        Barclays Bank Delaware                                     Last 4 digits of account number       1584                                             Unknown
          Nonpriority Creditor's Name
          700 Prides Crossing                                        When was the debt incurred?
          Newark, DE 19713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 2        Best Buy Credit Services                                   Last 4 digits of account number       4938                                             $2,100.00
          Nonpriority Creditor's Name
          P.O. Box 790441                                            When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.1
 3        Best Buy/Capital One                                       Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          26525 N Riverwoods Blvd
          Lake Forest, IL 60045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 4        Capital One                                                Last 4 digits of account number       0331                                             $1,000.00
          Nonpriority Creditor's Name
          P.O. Box 30253                                             When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 5        Capital One                                                Last 4 digits of account number       9354                                               $500.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 30281
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.1
 6        Capital One Bank (USA)                                     Last 4 digits of account number       0641                                             $1,200.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          4851 Cox Road
          Glen Allen, VA 23060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 7        Chase                                                      Last 4 digits of account number       6551                                               $700.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.1
 8        Chase                                                      Last 4 digits of account number       xxxx                                           $12,000.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          P.O. Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.1
 9        Citi Cards                                                 Last 4 digits of account number       2308                                             $3,300.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy/IRU Dept                                  When was the debt incurred?
          PO Box 790034
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 0        Citi Cards                                                 Last 4 digits of account number       1159                                             $4,000.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          399 Park Avenue
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 1        Citi Cards                                                 Last 4 digits of account number       5771                                             $3,500.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          P.O. Box 6004
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.2
 2        Citi Cards                                                 Last 4 digits of account number       0577                                             $6,100.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy/IRU Dept                                  When was the debt incurred?
          PO Box 790034
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 3        CitiBank                                                   Last 4 digits of account number       5636                                             $1,859.26
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          701 East 60th North
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 4        Comenity Bank                                              Last 4 digits of account number       8961                                               $210.16
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          1 Righter Parkway #100
          Wilmington, DE 19803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.2
 5        Credit One                                                 Last 4 digits of account number       5859                                               $650.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 98873
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 6        Dick's Sporting Goods                                      Last 4 digits of account number       2541                                             $1,100.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          345 Court Street
          Coraopolis, PA 15108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 7        Dick's Sporting Goods                                      Last 4 digits of account number       6414                                             $2,575.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          345 Court Street
          Coraopolis, PA 15108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.2
 8        Discover                                                   Last 4 digits of account number       9031                                             $3,800.00
          Nonpriority Creditor's Name
          P.O. Box 30421                                             When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.2
 9        Discover                                                   Last 4 digits of account number       xxxx                                           $16,162.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 15316
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.3
 0        Dr. Mark Braydich                                          Last 4 digits of account number                                                          $700.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          45 E. Liberty Street
          Hubbard, OH 44425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Medical/Dental




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.3      E*Trade Bank/E*Trade Securities
 1        LLC                                                        Last 4 digits of account number       9958                                             $7,077.12
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          Harborside 2
          200 Hudson Street, #501
          Jersey City, NJ 07311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.3
 2        Elan Financial Services                                    Last 4 digits of account number                                                        $5,482.84
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 108
          Saint Louis, MO 63166
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Personal Loan


 4.3
 3        Fifth Third Bank                                           Last 4 digits of account number       0341                                           $14,509.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept.                                     When was the debt incurred?
          1830 E. Paris, SE
          Grand Rapids, MI 49546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Personal Loan




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.3
 4        First Merit Bank                                           Last 4 digits of account number       212x                                             Unknown
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          295 First Merit Circle
          Akron, OH 44307
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.3
 5        Firstsource Advantage LLC                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          205 Bryant Woods South                                     When was the debt incurred?
          Buffalo, NY 14228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Collection Agent


 4.3
 6        FNB Omaha                                                  Last 4 digits of account number       2820                                             Unknown
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 3412
          Omaha, NE 68103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.3
 7        Genesis Bankcard                                           Last 4 digits of account number       9263                                               $400.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 4499
          Beaverton, OR 97076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.3
 8        Home Savings and Loan                                      Last 4 digits of account number                                                        $4,400.00
          Nonpriority Creditor's Name
          275 West Federal Plaza                                     When was the debt incurred?
          Youngstown, OH 44501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Personal Loan


 4.3
 9        Humility of Mary Health Partners                           Last 4 digits of account number       0285                                               $121.80
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 1279
          Dept #114465
          Oaks, PA 19456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Medical Services




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.4
 0        Humility of Mary Health Partners                           Last 4 digits of account number                                                              $9.60
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 1279
          Dept #114465
          Oaks, PA 19456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Medical Services


 4.4
 1        Loan Builders/Swift Financial LLC                          Last 4 digits of account number                                                      $18,000.00
          Nonpriority Creditor's Name
          3505 Silverside Road                                       When was the debt incurred?
          Wilmington, DE 19810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Personal Loan


 4.4
 2        Macy's American Express                                    Last 4 digits of account number       1904                                             $2,700.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 8097
          Mason, OH 45040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.4
 3        Merrick Bank                                               Last 4 digits of account number       5759                                             $3,800.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          10705 S. Jordan Gateway #200
          South Jordan, UT 84095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.4
 4        Navient Solutions                                          Last 4 digits of account number       xxxx                                           $51,000.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 9500
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                          Student Loans that are in a
                                                                                          deferral/conditional repayment plan to
                                                                                          waive if paid for 10 years
 4.4
 5        PayPal Credit                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?
          P.O. Box 5138
          Lutherville Timonium, MD 21094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card



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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.4
 6        Portfolio Recovery Assoc. LLC                              Last 4 digits of account number       xxxx                                           $17,117.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          120 Corporate Blvd.
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Collection Agent/Debt Buyer for US Bank


 4.4
 7        Portfolio Recovery Associates                              Last 4 digits of account number       xxxx                                             $2,600.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept.                                     When was the debt incurred?
          140 Corporate Blvd, Suite #1
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Debt Buyer/Collection Agent for Sychrony
              Yes                                                       Other. Specify    Bank

 4.4
 8        Portfolio Recovery Associates, LLC                         Last 4 digits of account number       1629                                           $12,116.00
          Nonpriority Creditor's Name
          P.O. Box 41067                                             When was the debt incurred?
          Norfolk, VA 23541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Debt Collection Agent/Buyer for US Bank




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.4
 9        Sears Mastercard                                           Last 4 digits of account number       7490                                             $4,209.40
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept.                                     When was the debt incurred?
          P.O. Box 9001055
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 0        Struthers Federal Credit Union                             Last 4 digits of account number                                                          $300.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy Dept                                      When was the debt incurred?
          808 Poland Avenue
          Struthers, OH 44471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Overdraft


 4.5
 1        SYNCB                                                      Last 4 digits of account number       3400                                               $500.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.5
 2        SYNCB/Home                                                 Last 4 digits of account number                                                        $1,879.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          950 Forrer Blvd
          Dayton, OH 45420
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 3        SYNCB/MC                                                   Last 4 digits of account number       xxxx                                             $1,400.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                           When was the debt incurred?
          PO Box 965005
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 4        SYNCB/TJX CO DC                                            Last 4 digits of account number       9845                                             $2,434.44
          Nonpriority Creditor's Name
          P.O. Box 965015                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.5
 5        SYNCB/Toys R Us                                            Last 4 digits of account number                                                        $5,927.00
          Nonpriority Creditor's Name
          P.O. Box 965005                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 6        Synchrony Bank                                             Last 4 digits of account number       7311                                             Unknown
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?
          P.O. Box 965033
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 7        U.S. Bank                                                  Last 4 digits of account number       1629                                           $14,686.00
          Nonpriority Creditor's Name
          1850 Osborn Avenue                                         When was the debt incurred?
          Oshkosh, WI 54902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card




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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 4.5
 8         U.S. Bank                                                 Last 4 digits of account number       2979                                                     $9,175.40
           Nonpriority Creditor's Name
           P.O. Box 108                                              When was the debt incurred?
           Saint Louis, MO 63166
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card


 4.5
 9         U.S. Bank Cardmember Services                             Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           P.O. Box 6352                                             When was the debt incurred?
           Fargo, ND 58125
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AES                                                           Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 65093
 Baltimore, MD 21264
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AES                                                           Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2461
 Harrisburg, PA 17105
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AES/NCT                                                       Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 61047
 Harrisburg, PA 17106
                                                               Last 4 digits of account number



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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Akron Children's Hospital                                     Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 215 W. Bowery Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Akron, OH 44308
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Akron Children's Hospital                                     Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 214 West Bowery Street
 Akron, OH 44308
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Akron Children's Hospital                                     Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 One Perkins Square                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Akron, OH 44308
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1954                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Southgate, MI 48195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 361445                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 981
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1954
 Southgate, MI 48195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3000 Corporate Exchange Dr., 5th Fl                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43231
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate LLC                                         Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 4000                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Warrenton, VA 20188
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AllTran Financial                                             Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 610                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Sauk Rapids, MN 56379
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial LP                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 722910                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77272
                                                               Last 4 digits of account number



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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial LP                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 p.o. bOX 4044                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Concord, CA 94524
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial LP                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 fka United Recovery Systems                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 500 North Course Drive
 Houston, TX 77072
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial, LP                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 722929
 Houston, TX 77272
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 981537
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 981535                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 31525                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1270                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 981537
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1270                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 981535                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 7105 Corporate Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Plano, TX 75024
                                                               Last 4 digits of account number

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)


 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15019                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 982234
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America, NA                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 655 Papermill Road
 Newark, DE 19711
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 8803
 Wilmington, DE 19899
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 400 White Clay Center Drive
 Newark, DE 19711
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Best Buy                                                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 790441                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Best Buy Credit Services                                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 688911                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50368
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Best Buy Credit Services                                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 9001007                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Calvary Portfolio                                             Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Summit Lake Drive #400                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30281
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30253

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                          Case number (if known)

 Salt Lake City, UT 84130                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 54529
 Oklahoma City, OK 73154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Drive                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Henrico, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 15000 Capital One Dr
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6492                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6492                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Drive                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Henrico, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30281
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 15000 Capital One Dr
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 54529
 Oklahoma City, OK 73154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 Capital One                                                   Line 4.15 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30253
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 54529
 Oklahoma City, OK 73154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6492                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30253                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Henrico, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30253
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 15000 Capital One Dr
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank                                              Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 15000 Capital One Drive
 Henrico, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA NA                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 4851 Cox Road
 Glen Allen, VA 23060
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Carson Smithfield LLC                                         Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 220 West Station Square Dr., 4th Fl
 Pittsburgh, PA 15219
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Carson Smithfield LLC                                         Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 PO Box 9216                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Old Bethpage, NY 11804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry Portfolio Services LLC                                Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 100 Cross Street #202
 San Luis Obispo, CA 93401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry Portfolio Services LLC                                Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 27288                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Tempe, AZ 85285
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry Portfolio Services LLC                                Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 520                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry SPV 1, LLC                                            Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1030                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Hawthorne, NY 10532
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry SPV 1, LLC                                            Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Summit Lake Drive, Suite 400                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: BANKRUPTCY                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 15298
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 CARDMEMBER sERVICES                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 6294
 Carol Stream, IL 60197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15298                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15123                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15299                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 6716 Grade Lane                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Building 9, Suite 910
 Louisville, KY 40213
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 399 Park Avenue
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 6004
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy/IRU Dept                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 790034
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6497                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 9001037                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy/IRU Dept                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 790034
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 6004
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 9001037                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 399 Park Avenue
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6716 Grade Lane                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Building 9, Suite 910
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                          Case number (if known)

 Louisville, KY 40213
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 399 Park Avenue
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 9001037                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards                                                    Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6716 Grade Lane                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Building 9, Suite 910
 Louisville, KY 40213
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry Truman Blvd.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S. Truman Blvd.                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Ulta                                            Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 183003
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Ulta                                            Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 659820                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit One Bank                                               Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 98875
 Las Vegas, NV 89193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit One Bank                                               Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 98872
 Las Vegas, NV 89193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit One Bank N.A.                                          Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 60500                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 City of Industry, CA 91716
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 Credit One Bank N.A.                                          Line 4.25 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 98873                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover                                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15316                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover                                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 742655                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45274
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover                                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 15316
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover                                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15316                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o DB Servicing Corporation                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 3025
 New Albany, OH 43054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Card                                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30421
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Fin Services LLC                                     Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 6500 New Albany Road East
 New Albany, OH 43054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EGS Financial Care                                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1020, Dept #806
 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EGS Financial Care, Inc.                                      Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4740 Baxter Road                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Virginia Beach, VA 23462
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ember Financial Services                                      Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 660676
 Dallas, TX 75266
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ember Financial Services                                      Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9201
 Old Bethpage, NY 11804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fidelity Collections                                          Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2055                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Alliance, OH 44601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fidelity National Collections                                 Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2055                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Alliance, OH 44601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fidelity National Collections                                 Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 885 S Sawburg Avenue, Suite #103
 Alliance, OH 44601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fidelity Properties                                           Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 885 S Sawburg Avenue, Suite #103
 Alliance, OH 44601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 12339 Cutten Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77066
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Dept #287
 PO Box 4115
 Concord, CA 94524
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 12339 Cutten Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77066
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2409
 Houston, TX 77252
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2409
 Houston, TX 77252
                                                               Last 4 digits of account number


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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                          Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 12339 Cutten Road                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77066
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMA Alliance Ltd                                              Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Dept #287
 PO Box 4115
 Concord, CA 94524
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Genesis Bankcard                                              Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 4480                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Beaverton, OR 97076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Genesis Bankcard                                              Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 23039                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, GA 31902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collections                                   Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5440 N. Cumberland Ave., Ste 300                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60656
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collections                                   Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 129                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Linden, MI 48451
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collections                                   Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 5440 N. Cumberland Ave., Ste 300
 Chicago, IL 60656
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Great Lakes Higher Education                                  Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 7860
 Madison, WI 53707
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o US Atty. General                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 US Dept of Justice & 10th Street NW
 Room #5111
 Washington, DC 20530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1240 East 9th Street, Room #493
 Cleveland, OH 44199
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 c/o US Atty's Office ND of Ohio                                                                          Part 1: Creditors with Priority Unsecured Claims
 801 West Superior Avenue #400                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jefferson Capital                                             Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 7999
 Saint Cloud, MN 56302
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jefferson Capital Systems                                     Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o First National Collection Burea                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 610 Waltham Way
 Sparks, NV 89434
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jefferson Capital Systems                                     Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o First National Collection Burea                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 610 Waltham Way
 Sparks, NV 89434
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jefferson Capital Systems                                     Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 772813                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60677
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jefferson Capital Systems, LLC                                Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 16 McLeland Road                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Cloud, MN 56303
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Levy & Associates                                             Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4645 Executive Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43220
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Levy & Associates                                             Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4645 Executive Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43220
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lloyd & McDaniel PLC                                          Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 23200
 Louisville, KY 40223
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lloyd & McDaniel PLC                                          Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 11405 Park Road #200
 Louisville, KY 40223
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lloyd & McDaniel PLC                                          Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 23200
 Louisville, KY 40223
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                          Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lloyd & McDaniel PLC                                          Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 11405 Park Road #200
 Louisville, KY 40223
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Loan Builder/Swift Financial LLC                              Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2211 North First Street
 San Jose, CA 95131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Loan Builder/Swift Financial LLC                              Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o CT Corporation Systems                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 4400 Easton Commons Way #125
 Columbus, OH 43219
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's                                                        Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 78008                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's                                                        Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Processing                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 8053
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's                                                        Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 183084                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's                                                        Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O.Box 8058                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's American Express                                       Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 8097
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Macy's American Express                                       Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 9001108                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercy Health                                                  Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Duke Drive #400
 Mason, OH 45040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                          Case number (if known)

 Merrick Bank                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 10705 S. Jordan Gateway #200
 South Jordan, UT 84095
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Merrick Bank                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9201
 Old Bethpage, NY 11804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Merrick Bank                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 660702
 Dallas, TX 75266
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Enterprise Systems                                   Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 29125 Solon Road                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Solon, OH 44139
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Enterprise Systems                                   Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1280
 Oaks, PA 19456
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Enterprise Systems                                   Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2479 Edison Blvd, Unit A
 Twinsburg, OH 44087
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient Solutions                                             Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 123 S. Justison Street
 Wilmington, DE 19801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 North American Credit Services                                Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 182221
 Chattanooga, TN 37422
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 North American Credit Services                                Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2810 Walker Road
 Chattanooga, TN 37421
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 North American Credit Services                                Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 182221
 Chattanooga, TN 37422
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 North American Credit Services                                Line 4.40 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 2810 Walker Road
 Chattanooga, TN 37421
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PayPal Credit                                                 Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 105658                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30348
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PayPal Credit                                                 Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 960080                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PayPal Credit                                                 Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 5138                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Lutherville Timonium, MD 21094
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PayPal Credit                                                 Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 105658                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30348
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pep Boy's/SYNCB                                               Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965035
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pep Boy's/SYNCB                                               Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 960061
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 41067
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd., Suite #100
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 12914                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd., Suite #100
 Norfolk, VA 23502
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 36 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 12914
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 140 Corporate Blvd.
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd., Suite #100
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 41067
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc. LLC                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd.
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 140 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 12914
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 140 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Dept.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 140 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates, LLC                            Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 4115                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Concord, CA 94524
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 37 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates, LLC                            Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 41067                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Radius Global Solutions LLC                                   Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 390905
 Minneapolis, MN 55439
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sears Credit Cards                                            Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankrupty                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 6282
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sears/CBNA                                                    Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6283                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sears/CBNA                                                    Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6217                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sears/CBNA                                                    Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 133200 Smith Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St. Elizabeth /Mercy Health                                   Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1044 Belmont Avenue
 Youngstown, OH 44504
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St. Elizabeth/Mercy Health                                    Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 630826                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45263
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB                                                         Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Ashley Homestore                                        Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Dick's Sporting Goods                                   Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 38 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                         Case number (if known)

 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965005
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Dick's Sporting Goods                                   Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 960012                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Dick's Sporting Goods                                   Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965005
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Dick's Sporting Goods                                   Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 960012                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Pep Boys                                                Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965037
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Toys R Us                                               Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 965013                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Toys R Us                                               Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 965016                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5016
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Toys R Us                                               Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Department                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 965060
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ulta/Comenity Bank                                            Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 183043
 Columbus, OH 43218
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    10,564.30
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 39 of 40
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 Debtor 1 Andrew James Garchar
 Debtor 2 Tammy Noel Feo-Garchar                                                                     Case number (if known)


                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $                10,564.30

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                81,225.34
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              230,190.10

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              311,415.44




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 40 of 40
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 Fill in this information to identify your case:

 Debtor 1                  Andrew James Garchar
                           First Name                         Middle Name            Last Name

 Debtor 2                  Tammy Noel Feo-Garchar
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Nissan Motor Acceptance Corp                                               2018 Nissan Sentra (jointly leased) for 36 months
               Attn: Bankruptcy                                                           No equity
               PO Box 660360                                                              Current Mileage 98,082
               Dallas, TX 75266                                                           Lease Expires 10/2021
                                                                                          Lease Balance as of 03/2019 is $18,221.30




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Andrew James Garchar
                            First Name                            Middle Name       Last Name

 Debtor 2                   Tammy Noel Feo-Garchar
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Andrew James Garchar

Debtor 2                      Tammy Noel Feo-Garchar
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF OHIO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                                                   Educator / Occupational
       Include part-time, seasonal, or       Occupation            Therapy                                    Case Manager
       self-employed work.
                                                                   Trumbull Education Serv / OT
       Occupation may include student        Employer's name       Plus Ltd                                   Columbiana County
       or homemaker, if it applies.
                                             Employer's address



                                             How long employed there?         25 years                                 6 weeks

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,055.92      $         2,293.20

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,055.92            $   2,293.20




Official Form 106I                                                      Schedule I: Your Income                                                  page 1


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Debtor 1    Andrew James Garchar
Debtor 2    Tammy Noel Feo-Garchar                                                               Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,055.92       $         2,293.20

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $        870.00       $           456.67
     5b.     Mandatory contributions for retirement plans                                 5b.        $        707.82       $             0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $          0.00       $             0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $          0.00       $             0.00
     5e.     Insurance                                                                    5e.        $        173.40       $             0.00
     5f.     Domestic support obligations                                                 5f.        $          0.00       $             0.00
     5g.     Union dues                                                                   5g.        $         96.00       $             0.00
     5h.     Other deductions. Specify: Life Insurance                                    5h.+       $        106.00 +     $             0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,953.22       $           456.67
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,102.70       $        1,836.53
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      2,812.00       $                0.00
     8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,812.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,914.70 + $       1,836.53 = $            7,751.23
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           7,751.23
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor Wife started a job on or about 04/15/19. She makes $13.50 per hour and works approximately
                             40 hours per week.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2


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Fill in this information to identify your case:

Debtor 1                   Andrew James Garchar                                                              Check if this is:
                                                                                                                 An amended filing
Debtor 2                   Tammy Noel Feo-Garchar                                                                A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF OHIO                                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for     Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............      Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                         No
      dependents names.                                                              Son                                  14                   Yes
                                                                                                                                               No
                                                                                     Son                                  17                   Yes
                                                                                                                                               No
                                                                                     Daughter                             18                   Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                             1,593.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.    $                            100.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                       4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1



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Debtor 1     Andrew James Garchar
Debtor 2     Tammy Noel Feo-Garchar                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  70.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 582.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                  80.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 120.00
14.   Charitable contributions and religious donations                                       14. $                                                  15.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  419.12
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  580.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  393.05
      17c. Other. Specify: 2018 Nissan Lease                                               17c. $                                                  262.18
      17d. Other. Specify: St. Nicholas School                                             17d. $                                                  150.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,064.35
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $                       1,425.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,489.35
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,751.23
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,489.35

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 261.88

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2



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Debtor 1      Andrew James Garchar
Debtor 2      Tammy Noel Feo-Garchar                                                                   Case number (if known)



Fill in this information to identify your case:

Debtor 1              Andrew James Garchar                                                                Check if this is:
                                                                                                              An amended filing
Debtor 2              Tammy Noel Feo-Garchar                                                                  A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                           expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF OHIO                                            MM / DD / YYYY

Case number
(If known)




Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                           12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
            No. Do not complete this form.
            Yes

2.    Do you have dependents?              No
      Do not list Debtor 1 but             Yes.
      list all other
      dependents of Debtor 2
      regardless of whether
      listed as a dependent
      of Debtor 1 on                              Fill out this information for      Dependent’s relationship to       Dependent’s     Does dependent
      Schedule J.                                 each dependent................     Debtor 2                          age             live with you?

      Do not state the                                                                                                                    No
      dependents names.
                                                                                     Son                               14                 Yes
      .                                                                                                                                   No
                                                                                     Son                               17                 Yes
      .                                                                                                                                   No
                                                                                     Daughter                          18                 Yes
      .                                                                                                                                   No
                                                                                                                                          Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes


Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                           Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                         500.00

      If not included in line 4:

      4a.     Real estate taxes                                                                             4a. $                               0.00
      4b.     Property, homeowner’s, or renter’s insurance                                                  4b. $                               0.00
Official Form 106J                                                  Schedule J: Your Expenses                                                           page 3



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Debtor 1     Andrew James Garchar
Debtor 2     Tammy Noel Feo-Garchar                                                                    Case number (if known)

      4c. Home maintenance, repair, and upkeep expenses                                                      4c. $                                  50.00
      4d. Homeowner’s association or condominium dues                                                        4d. $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                   0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  50.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                200.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
10.   Personal care products and services                                                    10. $                                                  40.00
11.   Medical and dental expenses                                                            11. $                                                  60.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Your monthly expenses. Add lines 5 through 21.                                                                   $                       1,425.00
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4



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 Fill in this information to identify your case:

 Debtor 1                    Andrew James Garchar
                             First Name                     Middle Name             Last Name

 Debtor 2                    Tammy Noel Feo-Garchar
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Andrew James Garchar                                                  X   /s/ Tammy Noel Feo-Garchar
              Andrew James Garchar                                                      Tammy Noel Feo-Garchar
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date        6/11/2019                                                     Date    6/11/2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Andrew James Garchar
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Tammy Noel Feo-Garchar
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                  Dates Debtor 2
                                                                 lived there                                                         lived there
                                                                 From-To:                       Same as Debtor 1                        Same as Debtor 1
                                                                                            239 Clingan Road                         From-To:
                                                                                            Struthers, OH 44471                      2015 to 12/2018


                                                                 From-To:                       Same as Debtor 1                        Same as Debtor 1
                                                                                            44251 State Route 558                    From-To:
                                                                                            Columbiana, OH 44408                     12/2018 to
                                                                                                                                     06/2019


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 1
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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                      Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $20,223.68            Wages, commissions,                $3,069.36
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                          $6,970.00          Wages, commissions,                       $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                      $101,942.00           Wages, commissions,                       $0.00
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business

 For the calendar year before that:                   Wages, commissions,                       $51,509.00           Wages, commissions,                       $0.00
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                      Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       So-Fi Lending vs. Andrew James                            Civil                      Mahoning County Common                     Pending
       Garchar                                                                              Pleas                                      On appeal
       2017 CV 1332                                                                         120 Market Street
                                                                                                                                       Concluded
                                                                                            Youngstown, OH 44503
                                                                                                                                    garnishment proceedings

       Bank of America NA vs. Andrew                             Civil                      Mahoning County Common                     Pending
       James Garchar                                                                        Pleas                                      On appeal
       2018 CV 761                                                                          120 Market Street
                                                                                                                                       Concluded
                                                                                            Youngstown, OH 44503
                                                                                                                                    garnishment

       Bank of America NA vs. Andrew                             Civil                      Struthers Municipal Court                  Pending
       James Garchar                                                                        6 Elm Street                               On appeal
       2017 CVF 422                                                                         Struthers, OH 44471
                                                                                                                                       Concluded


       Bank of America NA vs Andrew                              Judgment Lien              Mahoning County Common                     Pending
       James Garchar                                                                        Pleas                                      On appeal
       2018 JD 903                                                                          120 Market Street
                                                                                                                                       Concluded
                                                                                            Youngstown, OH 44503

       Bank of America NA vs Andrew                              Judgment Lien              Mahoning County Common                     Pending
       James Garchar                                                                        Pleas                                      On appeal
       2018 JD 2347                                                                         120 Market Street
                                                                                                                                       Concluded
                                                                                            Youngstown, OH 44503



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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                      Case number (if known)


       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       State of Ohio vs. Tammy N.                                Criminal cases for         Struthers Municipal Court                   Pending
       Feo-Garchar                                               Complicity/Violati         6 Elm Street                                On appeal
       19 CRA 41, 19 CRA                                         on of TPO,                 Struthers, OH 44471
                                                                                                                                        Concluded
       42(A),(B),(C),(D),(E)                                     Complicity Theft
                                                                                                                                     Prelim Hearing 05/1/19

       Tammy Noel Feo-Garchar vs.                                Divorce                    Mahoning County Common                      Pending
       Andrew James Garchar                                                                 Pleas                                       On appeal
       2018 DR 599                                                                          120 Market Street
                                                                                                                                        Concluded
                                                                                            Youngstown, OH 44503

       So-Fi Lending vs Andrew James                             Judgment Lien              Mahoning County Common                      Pending
       Garchar                                                                              Pleas                                       On appeal
       2018 JD 205                                                                          120 Market Street
                                                                                                                                        Concluded
                                                                                            Youngstown, OH 44503


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Church                                                        Cash                                                     2018-2019                      $150.00



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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                      Case number (if known)


       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Goodwill                                                      Clothing, etc.                                           2018-2019                   $250.00



 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Daniel Daniluk, LLC                                           Attorney Fees of $1,000 (plus $335                       04/24/19 -                $1,000.00
       1129 Niles-Cortland Road, SE                                  filing fee)                                              $247
       Warren, OH 44484-2542                                                                                                  05/10/19 -
       jchaney@daniluklaw.com                                                                                                 $260
                                                                                                                              06/10/19 -
                                                                                                                              $828


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                      Date Transfer was
                                                                                                                                            made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was         Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,        before closing or
       Code)                                                                                                            moved, or                     transfer
                                                                                                                        transferred
       E*Trade                                                   XXXX-                        Checking                  March 2019 -                $1,573.96
                                                                                              Savings                   Debtor Husband
                                                                                              Money Market              sold stock and
                                                                                                                        closed account
                                                                                              Brokerage
                                                                                              Other

       Struthers Federal Credit Union                            XXXX-                        Checking                  The minor child,              $800.00
       ATTN: Bankruptcy Dept                                                                  Savings                   Rocco, had an
       808 Poland Avenue                                                                                                account which
                                                                                              Money Market
       Struthers, OH 44471                                                                                              was closed after
                                                                                              Brokerage
                                                                                                                        the parties filed
                                                                                              Other                     for divorce.

       Struthers Federal Credit Union                            XXXX-                        Checking                  The minor child,              $800.00
       ATTN: Bankruptcy Dept                                                                  Savings                   Andrew, Jr., had
       808 Poland Avenue                                                                                                an account
                                                                                              Money Market
       Struthers, OH 44471                                                                                              which was
                                                                                              Brokerage
                                                                                                                        closed after the
                                                                                              Other                     parties filed for
                                                                                                                        divorce.

       Struthers Federal Credit Union                            XXXX-                        Checking                  The parties                   $800.00
       ATTN: Bankruptcy Dept                                                                  Savings                   daughter,
       808 Poland Avenue                                                                                                Gianna, had an
                                                                                              Money Market
       Struthers, OH 44471                                                                                              account which
                                                                                              Brokerage
                                                                                                                        was closed after
                                                                                              Other                     the parties filed
                                                                                                                        for divorce.


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                           have it?
                                                                     State and ZIP Code)




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 Debtor 2      Tammy Noel Feo-Garchar                                                                       Case number (if known)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Gianna Garchar                                                Victory Funds                          College account with Victory           Unknown
       239 Clinghan Road                                             PO Box 182593                          Funds
       Struthers, OH 44471                                           Columbus, OH 43218                     Debtor Tammy Feo-Garchar is
                                                                                                            the custodian

       Gianna Garchar                                                Tammy Feo-Garchar                      The children have savings              $1,500.00
       239 Clinghan Road                                                                                    bonds given to them by
       Struthers, OH 44471                                                                                  family over the years for
                                                                                                            birthdays, special occasions
                                                                                                            and holidays.

       Andrew Garchar, Jr., a minor                                  Tammy Feo-Garchar                      The children have savings              $1,500.00
       239 Clinghan Road                                                                                    bonds given to them by
       Struthers, OH 44471                                                                                  family over the years for
                                                                                                            birthdays, special occasions
                                                                                                            and holidays.

       Rocco Garchar, a minor                                        Tammy Feo-Garchar                      The children have savings              $1,500.00
       239 Clinghan Road                                                                                    bonds given to them by
       Struthers, OH 44471                                                                                  family over the years for
                                                                                                            birthdays, special occasions
                                                                                                            and holidays.


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                      Case number (if known)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Andrew James Garchar                                                /s/ Tammy Noel Feo-Garchar
 Andrew James Garchar                                                    Tammy Noel Feo-Garchar
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date       6/11/2019                                                    Date      6/11/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
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 Fill in this information to identify your case:

 Debtor 1                 Andrew James Garchar
                          First Name                        Middle Name              Last Name

 Debtor 2                 Tammy Noel Feo-Garchar
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bank of America NA                                   Surrender the property.                       No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a          Yes
    Description of       239 Clingan Road Struthers, OH                     Reaffirmation Agreement.
    property             44471 Mahoning County                              Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's         Bank of America NA                                   Surrender the property.                       No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a          Yes
    Description of       239 Clingan Road Struthers, OH                     Reaffirmation Agreement.
    property             44471 Mahoning County                              Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's         C&F Finance Company                                  Surrender the property.                       No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a          Yes
    Description of       2017 Nissan Altima 103,079                         Reaffirmation Agreement.
    property             miles                                              Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                            page 1

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 Debtor 2      Tammy Noel Feo-Garchar                                                                 Case number (if known)


    securing debt:                                                        Retain and pay without reaffirmation


    Creditor's     Chrysler Capital                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2015 Dodge Durango 72,000                           Reaffirmation Agreement.
    property            miles                                               Retain the property and [explain]:
    securing debt:                                                        Retain and pay


    Creditor's     Mr. Cooper                                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      239 Clingan Road Struthers, OH                      Reaffirmation Agreement.
    property            44471 Mahoning County                               Retain the property and [explain]:
    securing debt:                                                        Retain and pay without reaffirmation


    Creditor's     So-Fi Lending                                            Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      239 Clingan Road Struthers, OH                      Reaffirmation Agreement.
    property            44471 Mahoning County                               Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Andrew James Garchar
 Debtor 2      Tammy Noel Feo-Garchar                                                                Case number (if known)


 Description of leased                                                                                                        Yes
 Property:

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Andrew James Garchar                                                     X /s/ Tammy Noel Feo-Garchar
       Andrew James Garchar                                                            Tammy Noel Feo-Garchar
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date         6/11/2019                                                       Date     6/11/2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 3

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Andrew James Garchar
 Debtor 2              Tammy Noel Feo-Garchar                                                              1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Northern District of Ohio
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         5,055.92        $           511.56
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                       $           5,483.33
        Ordinary and necessary operating expenses                    -$          3,425.50
        Net monthly income from a business,                                                  Copy
        profession, or farm                                          $           2,057.83 here -> $               2,057.83        $              0.00
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $     0.00
        Ordinary and necessary operating expenses                         -$    0.00
        Net monthly income from rental or other real property             $     0.00 Copy here -> $                     0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Andrew James Garchar
 Debtor 2     Tammy Noel Feo-Garchar                                                                      Case number (if known)



                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
  8. Unemployment compensation                                                                        $                  0.00      $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                          $                  0.00      $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                        $                  0.00      $           0.00
                                                                                                      $                  0.00      $           0.00
                  Total amounts from separate pages, if any.                                     +    $                  0.00      $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       7,113.75          +   $       511.56      =   $      7,625.31

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>            $          7,625.31

              Multiply by 12 (the number of months in a year)                                                                                          x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $          91,503.72

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 OH

       Fill in the number of people in your household.                        5
       Fill in the median family income for your state and size of household.                                                            13.   $         98,454.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Andrew James Garchar                                               X /s/ Tammy Noel Feo-Garchar
                Andrew James Garchar                                                       Tammy Noel Feo-Garchar
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date     6/11/2019                                                         Date    6/11/2019
                MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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 Debtor 1    Andrew James Garchar
 Debtor 2    Tammy Noel Feo-Garchar                                                               Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2018 to 05/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Trumbull Cty Education Serv
Income by Month:
 6 Months Ago:                                    12/2018                 $5,055.92
 5 Months Ago:                                    01/2019                 $5,055.92
 4 Months Ago:                                    02/2019                 $5,055.92
 3 Months Ago:                                    03/2019                 $5,055.92
 2 Months Ago:                                    04/2019                 $5,055.92
 Last Month:                                      05/2019                 $5,055.92
                                 Average per month:                       $5,055.92




Line 5 - Income from operation of a business, profession, or farm
Source of Income: OT Plus Ltd
Income/Expense/Net by Month:
                         Date                                           Income                          Expense                       Net
 6 Months Ago:                  12/2018                                        $3,448.00                         $3,695.00                   $-247.00
 5 Months Ago:                  01/2019                                        $5,778.00                         $4,320.00                  $1,458.00
 4 Months Ago:                  02/2019                                        $6,195.00                         $4,095.00                  $2,100.00
 3 Months Ago:                  03/2019                                        $6,031.00                         $2,619.00                  $3,412.00
 2 Months Ago:                  04/2019                                        $5,724.00                         $2,912.00                  $2,812.00
 Last Month:                    05/2019                                        $5,724.00                         $2,912.00                  $2,812.00
                     Average per month:                                        $5,483.33                         $3,425.50
                                                                                           Average Monthly NET Income:                      $2,057.83




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                  page 3
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 Debtor 1    Andrew James Garchar
 Debtor 2    Tammy Noel Feo-Garchar                                                               Case number (if known)


                                           Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 12/01/2018 to 05/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Columbiana County
Income by Month:
 6 Months Ago:                                    12/2018                     $0.00
 5 Months Ago:                                    01/2019                     $0.00
 4 Months Ago:                                    02/2019                     $0.00
 3 Months Ago:                                    03/2019                     $0.00
 2 Months Ago:                                    04/2019                   $857.22
 Last Month:                                      05/2019                 $2,212.14
                                 Average per month:                         $511.56




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                page 4
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
             Andrew James Garchar
 In re       Tammy Noel Feo-Garchar                                                                           Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,000.00
             Prior to the filing of this statement I have received                                        $                     1,000.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     6/11/2019                                                                 /s/ John H. Chaney, III
     Date                                                                      John H. Chaney, III
                                                                               Signature of Attorney
                                                                               Daniel Daniluk, LLC
                                                                               1129 Niles-Cortland Road, SE
                                                                               Warren, OH 44484-2542
                                                                               330-609-9999 Fax: 330-609-9990
                                                                               jchaney@daniluklaw.com
                                                                               Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
            Andrew James Garchar
 In re      Tammy Noel Feo-Garchar                                                                 Case No.
                                                                                 Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      6/11/2019                                                 /s/ Andrew James Garchar
                                                                      Andrew James Garchar
                                                                      Signature of Debtor

 Date:      6/11/2019                                                 /s/ Tammy Noel Feo-Garchar
                                                                      Tammy Noel Feo-Garchar
                                                                      Signature of Debtor




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                           AES
                           Bankruptcy Dept
                           PO Box 65093
                           Baltimore, MD 21264


                           AES
                           Bankruptcy Dept
                           PO Box 2461
                           Harrisburg, PA 17105


                           AES/NCT
                           ATTN: Bankruptcy
                           PO Box 61047
                           Harrisburg, PA 17106


                           Akron Children's Hospital
                           6505 Market Street
                           Youngstown, OH 44512


                           Akron Children's Hospital
                           215 W. Bowery Street
                           Akron, OH 44308


                           Akron Children's Hospital
                           One Perkins Square
                           Akron, OH 44308


                           Akron Children's Hospital
                           ATTN: Bankruptcy
                           214 West Bowery Street
                           Akron, OH 44308


                           Allied Interstate
                           P.O. Box 1954
                           Southgate, MI 48195


                           Allied Interstate
                           3000 Corporate Exchange Dr., 5th Fl
                           Columbus, OH 43231


                           Allied Interstate
                           ATTN: Bankruptcy
                           PO Box 1954
                           Southgate, MI 48195




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                       Allied Interstate
                       ATTN: Bankruptcy
                       PO Box 981
                       Minneapolis, MN 55440


                       Allied Interstate
                       P.O. Box 361445
                       Columbus, OH 43236


                       Allied Interstate LLC
                       P.O. Box 4000
                       Warrenton, VA 20188


                       AllTran Financial
                       PO Box 610
                       Sauk Rapids, MN 56379


                       Alltran Financial LP
                       P.O. Box 722910
                       Houston, TX 77272


                       Alltran Financial LP
                       fka United Recovery Systems
                       500 North Course Drive
                       Houston, TX 77072


                       Alltran Financial LP
                       p.o. bOX 4044
                       Concord, CA 94524


                       Alltran Financial, LP
                       ATTN: Bankruptcy
                       PO Box 722929
                       Houston, TX 77272


                       American Education Services
                       ATTN: Bankruptcy
                       1200 North 7th Street
                       Harrisburg, PA 17102


                       American Express
                       P.O. Box 981540
                       El Paso, TX 79998




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                       American Express
                       ATTN: Bankruptcy
                       PO Box 981537
                       El Paso, TX 79998


                       American Express
                       P.O. Box 981535
                       El Paso, TX 79998


                       American Express
                       P.O. Box 1270
                       Newark, NJ 07101


                       American Express
                       P.O. Box 31525
                       Salt Lake City, UT 84131


                       Ashley Homestore/SYNCB
                       ATTN: Bankruptcy
                       PO Box 965064
                       Orlando, FL 32896


                       Bank of America
                       ATTN: Bankruptcy Dept.
                       5401 North Beach Street
                       FWTX 35
                       Fort Worth, TX 76137


                       Bank of America
                       ATTN: Bankruptcy
                       P.O. Box 982234
                       El Paso, TX 79998


                       Bank of America
                       ATTN: Bankruptcy Dept.
                       5401 North Beach Street
                       Fort Worth, TX 76137


                       Bank of America
                       P.O. Box 31785
                       Tampa, FL 33631


                       Bank of America
                       7105 Corporate Drive
                       Plano, TX 75024




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                       Bank of America
                       P.O. Box 15019
                       Wilmington, DE 19850


                       Bank of America NA
                       ATTN: Bankruptcy
                       100 North Tryon Street
                       Charlotte, NC 28255


                       Bank of America, NA
                       ATTN: Bankruptcy
                       655 Papermill Road
                       Newark, DE 19711


                       Barclays Bank Delaware
                       700 Prides Crossing
                       Newark, DE 19713


                       Barclays Bank Delaware
                       ATTN: Bankruptcy
                       PO Box 8803
                       Wilmington, DE 19899


                       Barclays Bank Delaware
                       ATTN: Bankruptcy
                       400 White Clay Center Drive
                       Newark, DE 19711


                       Best Buy
                       P.O. Box 790441
                       Saint Louis, MO 63179


                       Best Buy Credit Services
                       P.O. Box 790441
                       Saint Louis, MO 63179


                       Best Buy Credit Services
                       P.O. Box 688911
                       Des Moines, IA 50368


                       Best Buy Credit Services
                       P.O. Box 9001007
                       Louisville, KY 40290




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                       Best Buy/Capital One
                       ATTN: Bankruptcy
                       26525 N Riverwoods Blvd
                       Lake Forest, IL 60045


                       C&F Finance Company
                       ATTN: Bankruptcy Dept
                       PO Box 2129
                       Richmond, VA 23218


                       Calvary Portfolio
                       500 Summit Lake Drive #400
                       Valhalla, NY 10595


                       Capital One
                       P.O. Box 30253
                       Salt Lake City, UT 84130


                       Capital One
                       ATTN: Bankruptcy
                       PO Box 30281
                       Salt Lake City, UT 84130


                       Capital One
                       15000 Capital One Drive
                       Henrico, VA 23238


                       Capital One
                       ATTN: Bankruptcy
                       15000 Capital One Dr
                       Richmond, VA 23238


                       Capital One
                       P.O. Box 6492
                       Carol Stream, IL 60197


                       Capital One
                       ATTN: Bankruptcy
                       PO Box 54529
                       Oklahoma City, OK 73154


                       Capital One
                       P.O. Box 30285
                       Salt Lake City, UT 84130




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                       Capital One
                       ATTN: Bankruptcy
                       PO Box 30253
                       Salt Lake City, UT 84130


                       Capital One Bank
                       ATTN: Bankruptcy
                       15000 Capital One Drive
                       Henrico, VA 23238


                       Capital One Bank (USA)
                       ATTN: Bankruptcy
                       4851 Cox Road
                       Glen Allen, VA 23060


                       Capital One Bank USA NA
                       ATTN: Bankruptcy
                       4851 Cox Road
                       Glen Allen, VA 23060


                       Carson Smithfield LLC
                       ATTN: Bankruptcy
                       220 West Station Square Dr., 4th Fl
                       Pittsburgh, PA 15219


                       Carson Smithfield LLC
                       ATTN: Bankruptcy
                       PO Box 9216
                       Old Bethpage, NY 11804


                       Cash Central
                       6785 Bobcat Way #200
                       Dublin, OH 43016


                       Cavalry Portfolio Services LLC
                       ATTN: Bankruptcy Dept.
                       500 Summit Lake #400
                       Valhalla, NY 10595


                       Cavalry Portfolio Services LLC
                       ATTN: Bankruptcy Dept.
                       100 Cross Street #202
                       San Luis Obispo, CA 93401




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                       Cavalry Portfolio Services LLC
                       P.O. Box 520
                       Valhalla, NY 10595


                       Cavalry Portfolio Services LLC
                       P.O. Box 27288
                       Tempe, AZ 85285


                       Cavalry SPV 1, LLC
                       P.O. Box 1030
                       Hawthorne, NY 10532


                       Cavalry SPV 1, LLC
                       500 Summit Lake Drive, Suite 400
                       Valhalla, NY 10595


                       Chase
                       P.O. Box 15298
                       Wilmington, DE 19850


                       Chase
                       ATTN: Bankruptcy
                       P.O. Box 15298
                       Wilmington, DE 19850


                       Chase
                       P.O. Box 15299
                       Wilmington, DE 19850


                       Chase
                       P.O. Box 15123
                       Wilmington, DE 19850


                       Chase
                       CARDMEMBER sERVICES
                       P.O. Box 6294
                       Carol Stream, IL 60197


                       Chrysler Capital
                       ATTN: Bankruptcy
                       PO Box 961275
                       Fort Worth, TX 76161




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                       Chrysler Capital
                       ATTN: Bankruptcy
                       PO Box 961278
                       Fort Worth, TX 76161


                       Citi Cards
                       ATTN: Bankruptcy/IRU Dept
                       PO Box 790034
                       Saint Louis, MO 63179


                       Citi Cards
                       ATTN: Bankruptcy
                       399 Park Avenue
                       New York, NY 10022


                       Citi Cards
                       ATTN: Bankruptcy
                       P.O. Box 6004
                       Sioux Falls, SD 57117


                       Citi Cards
                       6716 Grade Lane
                       Building 9, Suite 910
                       Louisville, KY 40213


                       Citi Cards
                       P.O. Box 6497
                       Sioux Falls, SD 57117


                       Citi Cards
                       P.O. Box 9001037
                       Louisville, KY 40290


                       CitiBank
                       ATTN: Bankruptcy
                       701 East 60th North
                       Sioux Falls, SD 57117


                       Client Services, Inc.
                       3451 Harry Truman Blvd.
                       Saint Charles, MO 63301


                       Client Services, Inc.
                       3451 Harry S. Truman Blvd.
                       Saint Charles, MO 63301




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                       Comenity Bank
                       ATTN: Bankruptcy
                       1 Righter Parkway #100
                       Wilmington, DE 19803


                       Comenity Bank/Ulta
                       ATTN: Bankruptcy
                       PO Box 183003
                       Columbus, OH 43218


                       Comenity Bank/Ulta
                       P.O. Box 659820
                       San Antonio, TX 78265


                       Credit One
                       ATTN: Bankruptcy
                       PO Box 98873
                       Las Vegas, NV 89193


                       Credit One Bank
                       ATTN: Bankruptcy
                       PO Box 98875
                       Las Vegas, NV 89193


                       Credit One Bank
                       ATTN: Bankruptcy
                       PO Box 98872
                       Las Vegas, NV 89193


                       Credit One Bank N.A.
                       P.O. Box 60500
                       City of Industry, CA 91716


                       Credit One Bank N.A.
                       P.O. Box 98873
                       Las Vegas, NV 89193


                       Dick's Sporting Goods
                       ATTN: Bankruptcy
                       345 Court Street
                       Coraopolis, PA 15108


                       Discover
                       P.O. Box 30421
                       Salt Lake City, UT 84130




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                       Discover
                       ATTN: Bankruptcy
                       PO Box 15316
                       Wilmington, DE 19850


                       Discover
                       P.O. Box 15316
                       Wilmington, DE 19850


                       Discover
                       ATTN: Bankruptcy Department
                       P.O. Box 15316
                       Wilmington, DE 19850


                       Discover
                       P.O. Box 742655
                       Cincinnati, OH 45274


                       Discover Bank
                       c/o DB Servicing Corporation
                       PO Box 3025
                       New Albany, OH 43054


                       Discover Card
                       ATTN: Bankruptcy
                       PO Box 30421
                       Salt Lake City, UT 84130


                       Discover Fin Services LLC
                       ATTN: Bankruptcy
                       6500 New Albany Road East
                       New Albany, OH 43054


                       Dr. Mark Braydich
                       ATTN: Bankruptcy
                       45 E. Liberty Street
                       Hubbard, OH 44425


                       E*Trade Bank/E*Trade Securities LLC
                       ATTN: Bankruptcy
                       Harborside 2
                       200 Hudson Street, #501
                       Jersey City, NJ 07311




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                       EGS Financial Care
                       ATTN: Bankruptcy
                       PO Box 1020, Dept #806
                       Horsham, PA 19044


                       EGS Financial Care, Inc.
                       4740 Baxter Road
                       Virginia Beach, VA 23462


                       Elan Financial Services
                       ATTN: Bankruptcy
                       PO Box 108
                       Saint Louis, MO 63166


                       Ember Financial Services
                       ATTN: Bankruptcy
                       PO Box 660676
                       Dallas, TX 75266


                       Ember Financial Services
                       ATTN: Bankruptcy
                       PO Box 9201
                       Old Bethpage, NY 11804


                       Fidelity Collections
                       P.O. Box 2055
                       Alliance, OH 44601


                       Fidelity National Collections
                       P.O. Box 2055
                       Alliance, OH 44601


                       Fidelity National Collections
                       ATTN: Bankruptcy
                       885 S Sawburg Avenue, Suite #103
                       Alliance, OH 44601


                       Fidelity Properties
                       ATTN: Bankruptcy
                       885 S Sawburg Avenue, Suite #103
                       Alliance, OH 44601


                       Fifth Third Bank
                       ATTN: Bankruptcy Dept.
                       1830 E. Paris, SE
                       Grand Rapids, MI 49546



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                       First Merit Bank
                       ATTN: Bankruptcy
                       295 First Merit Circle
                       Akron, OH 44307


                       Firstsource Advantage LLC
                       205 Bryant Woods South
                       Buffalo, NY 14228


                       FMA Alliance Ltd
                       12339 Cutten Road
                       Houston, TX 77066


                       FMA Alliance Ltd
                       ATTN: Bankruptcy Dept
                       PO Box 2409
                       Houston, TX 77252


                       FMA Alliance Ltd
                       ATTN: Bankruptcy
                       Dept #287
                       PO Box 4115
                       Concord, CA 94524


                       FNB Omaha
                       ATTN: Bankruptcy
                       PO Box 3412
                       Omaha, NE 68103


                       Genesis Bankcard
                       ATTN: Bankruptcy
                       PO Box 4499
                       Beaverton, OR 97076


                       Genesis Bankcard
                       P.O. Box 4480
                       Beaverton, OR 97076


                       Genesis Bankcard
                       P.O. Box 23039
                       Columbus, GA 31902


                       Global Credit & Collections
                       5440 N. Cumberland Ave., Ste 300
                       Chicago, IL 60656




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                       Global Credit & Collections
                       P.O. Box 129
                       Linden, MI 48451


                       Global Credit & Collections
                       ATTN: Bankruptcy
                       5440 N. Cumberland Ave., Ste 300
                       Chicago, IL 60656


                       Great Lakes Higher Education
                       ATTN: Bankruptcy
                       PO Box 7860
                       Madison, WI 53707


                       Home Savings and Loan
                       275 West Federal Plaza
                       Youngstown, OH 44501


                       Humility of Mary Health Partners
                       ATTN: Bankruptcy
                       PO Box 1279
                       Dept #114465
                       Oaks, PA 19456


                       IRS
                       c/o Bankruptcy Dept
                       PO Box 7346
                       Philadelphia, PA 19101


                       IRS
                       c/o US Atty. General
                       US Dept of Justice & 10th Street NW
                       Room #5111
                       Washington, DC 20530


                       IRS
                       c/o US Atty's Office ND of Ohio
                       801 West Superior Avenue #400
                       Cleveland, OH 44113


                       IRS
                       ATTN: Bankruptcy
                       1240 East 9th Street, Room #493
                       Cleveland, OH 44199




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                       Jefferson Capital
                       ATTN: Bankruptcy Dept.
                       PO Box 7999
                       Saint Cloud, MN 56302


                       Jefferson Capital Systems
                       c/o First National Collection Burea
                       610 Waltham Way
                       Sparks, NV 89434


                       Jefferson Capital Systems
                       PO Box 772813
                       Chicago, IL 60677


                       Jefferson Capital Systems, LLC
                       16 McLeland Road
                       Saint Cloud, MN 56303


                       Kabbage
                       ATTN: Bankruptcy
                       PO Box 77073
                       Atlanta, GA 30357


                       Kabbage
                       ATTN: Bankruptcy
                       730 Peachtree Street NE
                       Atlanta, GA 30308


                       Levy & Associates
                       4645 Executive Drive
                       Columbus, OH 43220


                       Lloyd & McDaniel PLC
                       ATTN: Bankruptcy
                       PO Box 23200
                       Louisville, KY 40223


                       Lloyd & McDaniel PLC
                       ATTN: Bankruptcy
                       11405 Park Road #200
                       Louisville, KY 40223


                       Loan Builder/Swift Financial LLC
                       ATTN: Bankruptcy
                       2211 North First Street
                       San Jose, CA 95131



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                       Loan Builder/Swift Financial LLC
                       c/o CT Corporation Systems
                       4400 Easton Commons Way #125
                       Columbus, OH 43219


                       Loan Builders/Swift Financial LLC
                       3505 Silverside Road
                       Wilmington, DE 19810


                       Loan Me
                       1900 College Blvd
                       Anaheim, CA 92806


                       Macy's
                       P.O. Box 78008
                       Phoenix, AZ 85062


                       Macy's
                       P.O.Box 8058
                       Mason, OH 45040


                       Macy's
                       P.O. Box 183084
                       Columbus, OH 43218


                       Macy's
                       Bankruptcy Processing
                       P.O. Box 8053
                       Mason, OH 45040


                       Macy's American Express
                       ATTN: Bankruptcy
                       PO Box 8097
                       Mason, OH 45040


                       Macy's American Express
                       P.O. Box 9001108
                       Louisville, KY 40290


                       Mercy Health
                       ATTN: Bankruptcy
                       Duke Drive #400
                       Mason, OH 45040




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                       Merrick Bank
                       ATTN: Bankruptcy
                       10705 S. Jordan Gateway #200
                       South Jordan, UT 84095


                       Merrick Bank
                       ATTN: Bankruptcy
                       PO Box 660702
                       Dallas, TX 75266


                       Merrick Bank
                       ATTN: Bankruptcy
                       PO Box 9201
                       Old Bethpage, NY 11804


                       Mr. Cooper
                       8590 Cypress Waters Blvd.
                       Coppell, TX 75019


                       Mr. Cooper
                       P.O. Box 60516
                       City of Industry, CA 91716-0516


                       National Enterprise Systems
                       29125 Solon Road
                       Solon, OH 44139


                       National Enterprise Systems
                       ATTN: Bankruptcy
                       2479 Edison Blvd, Unit A
                       Twinsburg, OH 44087


                       National Enterprise Systems
                       ATTN: Bankruptcy
                       PO Box 1280
                       Oaks, PA 19456


                       Navient Solutions
                       ATTN: Bankruptcy
                       PO Box 9500
                       Wilkes Barre, PA 18773


                       Navient Solutions
                       ATTN: Bankruptcy
                       123 S. Justison Street
                       Wilmington, DE 19801



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                       Nissan Motor Acceptance Corp
                       Attn: Bankruptcy
                       PO Box 660360
                       Dallas, TX 75266


                       Nissan Motor Acceptance Corp.
                       2901 Kinwest Parkway
                       Irving, TX 75063


                       North American Credit Services
                       ATTN: Bankruptcy
                       PO Box 182221
                       Chattanooga, TN 37422


                       North American Credit Services
                       ATTN: Bankruptcy
                       2810 Walker Road
                       Chattanooga, TN 37421


                       OneMain Financial
                       ATTN: Bankruptcy
                       601 N.W. 2nd Street
                       Evansville, IN 47708


                       OneMain Financial
                       ATTN: Bankruptcy
                       PO Box 59
                       Evansville, IN 47701


                       PayPal Credit
                       Bankruptcy Department
                       P.O. Box 5138
                       Lutherville Timonium, MD 21094


                       PayPal Credit
                       P.O. Box 105658
                       Atlanta, GA 30348


                       PayPal Credit
                       PO Box 105658
                       Atlanta, GA 30348


                       PayPal Credit
                       PO Box 5138
                       Lutherville Timonium, MD 21094




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                       PayPal Credit
                       P.O. Box 960080
                       Orlando, FL 32896


                       Pep Boy's/SYNCB
                       ATTN: Bankruptcy
                       PO Box 965035
                       Orlando, FL 32896


                       Pep Boy's/SYNCB
                       ATTN: Bankruptcy
                       PO Box 960061
                       Orlando, FL 32896


                       Portfolio Recovery Assoc. LLC
                       ATTN: Bankruptcy
                       120 Corporate Blvd.
                       Norfolk, VA 23502


                       Portfolio Recovery Assoc. LLC
                       ATTN: Bankruptcy
                       PO Box 41067
                       Norfolk, VA 23541


                       Portfolio Recovery Assoc. LLC
                       ATTN: Bankruptcy Dept.
                       120 Corporate Blvd., Suite #100
                       Norfolk, VA 23502


                       Portfolio Recovery Assoc. LLC
                       P.O. Box 12914
                       Norfolk, VA 23541


                       Portfolio Recovery Assoc. LLC
                       ATTN: Bankruptcy
                       PO Box 12914
                       Norfolk, VA 23541


                       Portfolio Recovery Assoc. LLC
                       ATTN: Bankruptcy
                       140 Corporate Blvd.
                       Norfolk, VA 23502




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                       Portfolio Recovery Associates
                       ATTN: Bankruptcy Dept.
                       140 Corporate Blvd, Suite #1
                       Norfolk, VA 23502


                       Portfolio Recovery Associates
                       ATTN: Bankruptcy Dept.
                       140 Corporate Blvd
                       Norfolk, VA 23502


                       Portfolio Recovery Associates
                       ATTN: Bankruptcy Dept.
                       PO Box 12914
                       Norfolk, VA 23541


                       Portfolio Recovery Associates, LLC
                       P.O. Box 41067
                       Norfolk, VA 23541


                       Portfolio Recovery Associates, LLC
                       P.O. Box 4115
                       Concord, CA 94524


                       Radius Global Solutions LLC
                       ATTN: Bankruptcy
                       PO Box 390905
                       Minneapolis, MN 55439


                       Sears Credit Cards
                       ATTN: Bankrupty
                       PO Box 6282
                       Sioux Falls, SD 57117


                       Sears Mastercard
                       ATTN: Bankruptcy Dept.
                       P.O. Box 9001055
                       Louisville, KY 40290


                       Sears/CBNA
                       P.O. Box 6283
                       Sioux Falls, SD 57117


                       Sears/CBNA
                       133200 Smith Road
                       Cleveland, OH 44130




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                       Sears/CBNA
                       P.O. Box 6217
                       Sioux Falls, SD 57117


                       So-Fi Lending
                       ATTN: Bankruptcy
                       375 Healdsburg Avenue, #2
                       Healdsburg, CA 95448


                       So-Fi Lending
                       ATTN: Bankruptcy
                       PO Box 29372
                       San Francisco, CA 94129


                       So-Fi Lending
                       ATTN: Bankruptcy
                       Dept #3534
                       PO Box 123534
                       Dallas, TX 75312


                       So-Fi Lending Corp
                       ATTN: Bankruptcy
                       One Letter Drive
                       Suite A, Suite #4700
                       San Francisco, CA 94129


                       St. Elizabeth /Mercy Health
                       ATTN: Bankruptcy Department
                       1044 Belmont Avenue
                       Youngstown, OH 44504


                       St. Elizabeth/Mercy Health
                       P.O. Box 630826
                       Cincinnati, OH 45263


                       Struthers Federal Credit Union
                       ATTN: Bankruptcy Dept
                       808 Poland Avenue
                       Struthers, OH 44471


                       SYNCB
                       ATTN: Bankruptcy
                       PO Box 965060
                       Orlando, FL 32896




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                       SYNCB
                       ATTN: Bankruptcy
                       PO Box 965033
                       Orlando, FL 32896


                       SYNCB/Ashley Homestore
                       ATTN: Bankruptcy
                       PO Box 965060
                       Orlando, FL 32896


                       SYNCB/Dick's Sporting Goods
                       ATTN: Bankruptcy
                       PO Box 965005
                       Orlando, FL 32896


                       SYNCB/Dick's Sporting Goods
                       P.O. Box 960012
                       Orlando, FL 32896


                       SYNCB/Home
                       ATTN: Bankruptcy
                       950 Forrer Blvd
                       Dayton, OH 45420


                       SYNCB/MC
                       ATTN: Bankruptcy
                       PO Box 965005
                       Orlando, FL 32896


                       SYNCB/Pep Boys
                       ATTN: Bankruptcy
                       PO Box 965037
                       Orlando, FL 32896


                       SYNCB/TJX CO DC
                       P.O. Box 965015
                       Orlando, FL 32896


                       SYNCB/Toys R Us
                       P.O. Box 965005
                       Orlando, FL 32896


                       SYNCB/Toys R Us
                       P.O. Box 965013
                       Orlando, FL 32896




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                       SYNCB/Toys R Us
                       Bankruptcy Department
                       P.O. Box 965060
                       Orlando, FL 32896


                       SYNCB/Toys R Us
                       P.O. Box 965016
                       Orlando, FL 32896-5016


                       Synchrony Bank
                       Attn: Bankruptcy Dept.
                       P.O. Box 965033
                       Orlando, FL 32896


                       U.S. Bank
                       1850 Osborn Avenue
                       Oshkosh, WI 54902


                       U.S. Bank
                       P.O. Box 108
                       Saint Louis, MO 63166


                       U.S. Bank Cardmember Services
                       P.O. Box 6352
                       Fargo, ND 58125


                       Ulta/Comenity Bank
                       ATTN: Bankruptcy
                       PO Box 183043
                       Columbus, OH 43218


                       Zwicker & Associates PC
                       2300 Litton Lane #200
                       Hebron, KY 41048


                       Zwicker & Associates, PC
                       P.O. Box 9013
                       Andover, MA 01810


                       Zwicker & Associates, PC
                       80 Minuteman Road
                       Andover, MA 01810




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